UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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 ELAINE WANG,                                               :
                                                            :
                   Plaintiff,                               :   Civil Action No. 1:21-cv-3779
                                                            :
 v.                                                         :
                                                            :   COMPLAINT FOR VIOLATIONS OF
 TRIBUNE PUBLISHING COMPANY,                                :   SECTIONS 14(a) AND 20(a) OF THE
 PHILIP G. FRANKLIN, RICHARD RECK,                          :   SECURITIES EXCHANGE ACT OF
 CAROL CRENSHAW, CHRISTOPHER                                :   1934
 MINNETIAN, DANA GOLDSMITH                                  :
 NEEDLEMAN, TERRY JIMENEZ, and                              :   JURY TRIAL DEMANDED
 RANDALL D. SMITH,                                          :
                                                            :
                   Defendants.                              :
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        Elaine Wang (“Plaintiff”), by and through her attorneys, alleges the following upon

information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon personal

knowledge:

        1.       This is an action brought by Plaintiff against Tribune Publishing Company

(“Tribune or the “Company”) and the members Tribune board of directors (the “Board” or the

“Individual Defendants” and collectively with the Company, the “Defendants”) for their violations

of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), in

connection with the proposed acquisition of Tribune by affiliates of Alden Global Opportunities

Master Fund, L.P. (herein referred to as the “Alden”).

        2.       Defendants have violated the above-referenced Sections of the Exchange Act by

causing a materially incomplete and misleading Definitive Proxy Statement on Schedule 14A (the

“Proxy Statement”) to be filed on April 20, 2021 with the United States Securities and Exchange
Commission (“SEC”) and disseminated to Company stockholders.               The Proxy Statement

recommends that Company stockholders vote in favor of a proposed transaction whereby Tribune

Merger Sub, Inc. (“Merger Sub”), a wholly-owned subsidiary of Tribune Enterprises, LLC, a

Delaware limited liability company owned by Alden and formed solely for the purpose of entering

into the Merger Agreement (“Parent”), will merge with and into Tribune with Tribune surviving

the merger as a wholly owned subsidiary of Parent (the “Proposed Transaction”). Pursuant to the

terms of the definitive agreement and plan of merger the companies entered into (the “Merger

Agreement”) each Tribune common share issued and outstanding will be converted into the right

to receive $17.25 in cash (the “Merger Consideration”).

       3.      As discussed below, Defendants have asked Tribune stockholders to support the

Proposed Transaction based upon the materially incomplete and misleading representations and

information contained in the Proxy Statement, in violation of Sections 14(a) and 20(a) of the

Exchange Act. Specifically, the Proxy Statement contains materially incomplete and misleading

information concerning the Company’s financial forecasts and financial analyses conducted by the

financial advisor of the Company, Lazard Frères & Co. LLC (“Lazard”) in support of its fairness

opinion, and relied upon by the Board in recommending the Company’s stockholders vote in favor

of the Proposed Transaction.

       4.      It is imperative that the material information that has been omitted from the Proxy

Statement is disclosed to the Company’s stockholders prior to the forthcoming stockholder vote

so that they can properly exercise their corporate suffrage rights.

       5.      For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to Tribune stockholders or, in the event the




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Proposed Transaction is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.

                                  JURISDICTION AND VENUE

        6.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

        7.      Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over Defendant by this Court permissible under

traditional notions of fair play and substantial justice.

        8.      Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, Alden is headquartered in this District and because the

closing on the Merger will take place in this District.

                                              PARTIES

        9.      Plaintiff is, and has been at all relevant times, the owner of Tribune common stock

and has held such stock since prior to the wrongs complained of herein.

        10.     Individual Defendant Philip G. Franklin has served as a member of the Board since

August 2014 and is the Chairman of the Board.

        11.     Individual Defendant Richard Reck has served as a member of the Board since

April 2016.

        12.     Individual Defendant Carol Crenshaw has served as a member of the Board since

April 2016.




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       13.      Individual Defendant Christopher Minnetian has served as a member of the Board

since December 2019.

       14.      Individual Defendant Dana Goldsmith Needleman has served as a member of the

Board since December 2019.

       15.      Individual Defendant Terry Jimenez has served as a member of the Board, and as

the Company’s Chief Executive Officer and President since April 2016.

       16.      Individual Defendant Randall D. Smith has served as a member of the Board since

2020 and is also Alden’s co-founder.

       17.      Defendant Tribune is incorporated in Delaware and maintains its principal offices

at 560 W. Grand Avenue, Chicago, IL 60654. The Company’s common stock trades on the New

York Stock Exchange under the symbol “TPCO.”

       18.      The defendants identified in paragraphs 10-16 are collectively referred to as the

“Individual Defendants” or the “Board.”

       19.      The defendants identified in paragraphs 10-17 are collectively referred to as the

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

A.     The Proposed Transaction

       20.      Tribune, a media company, publishes newspapers worldwide. It publishes daily

newspapers, weekly newspapers, and niche publications and direct mail. The company also

provides various digital marketing services, which include the development of mobile websites,

search engine marketing and optimization, social media account management, and content

marketing for its customers' web presence for small to medium size businesses. In addition, it

operates Tribune Content Agency, a syndication and licensing business that provides content

solutions for publishers. Tribune Publishing Company operates media businesses in eight markets


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with titles, including the Chicago Tribune, New York Daily News, The Baltimore Sun, Hartford

Courant, South Florida's Sun Sentinel, Orlando Sentinel, Virginia's Daily Press and The Virginian-

Pilot, and The Morning Call of Lehigh Valley, Pennsylvania. The company engages in business

of testing, researching, and reviewing consumer products. The company was formerly known as

tronc, Inc. and changed its name to Tribune Publishing Company in October 2018. Tribune

Publishing Company was founded in 2013 and is headquartered in Chicago, Illinois.

       21.     On February 16, 2021, Tribune and Alden jointly announced that they had entered

into the Proposed Transaction:

       CHICAGO, Feb. 16, 2021 /PRNewswire/ -- Tribune Publishing Company
       (NASDAQ: TPCO) (“Tribune” or the “Company”) and affiliates of Alden Global
       Capital (“Alden”) today announced that they have entered into a definitive merger
       agreement under which Alden will acquire all of the outstanding shares of Tribune
       common stock not currently owned by Alden for $17.25 per share in cash. Alden
       currently owns 11,554,306 shares of Tribune common stock, representing 31.6%
       of the Company’s outstanding shares.

       The purchase price represents a premium of 45% to the closing price of Tribune
       common stock on December 11, 2020, the last trading day prior to receiving
       Alden's proposal, a premium of approximately 35% to the closing price of Tribune
       common stock on December 30, 2020, the last trading day prior to public disclosure
       of Alden's proposal, and a 21% increase from Alden's initial offer of $14.25 per
       share. The definitive agreement was approved by Tribune's Board of Directors
       following the recommendation by the special committee of Tribune's Board formed
       to evaluate Alden's proposal and potential alternatives.

       Philip G. Franklin, Chairman of the Board and a member of the special committee,
       said, "Over the past year, the Company has taken a number of actions to adapt to
       an ever-changing business and industry environment, including the impact of
       COVID-19. These actions included strengthening the Company's financial
       position, driving digital growth and investing in high-quality content to better serve
       customers, employees and communities. This positioning enabled the special
       committee to negotiate a premium, all-cash price, which the committee concluded
       was superior to the available alternatives."
       Concurrent with the signing of the merger agreement, Alden has signed a non-
       binding term sheet to sell The Baltimore Sun to Sunlight for All Institute, a public
       charity formed by Stewart Bainum Jr.

       Approvals and Timing



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       The transaction is expected to close in the second quarter of 2021, subject to, among
       other things, the expiration or termination of the applicable waiting periods under
       the Hart-Scott-Rodino Antitrust Improvements Act of 1976, the approval of holders
       of two-thirds of Tribune common stock not owned by Alden, as well as other
       customary closing conditions.

       Upon completion of the transaction, Tribune will become a privately held company,
       and its common stock will no longer be listed on any public market.

       Advisors
       Moelis & Company LLC is serving as exclusive financial advisor to Alden Global
       Capital, and Akin Gump Strauss Hauer & Feld LLP is serving as legal advisor.
       Lazard is serving as financial advisor to the special committee of the Board of
       Directors of Tribune, and Davis Polk & Wardwell LLP is serving as the special
       committee's legal advisor.

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       22.     The Board has unanimously approved the Proposed Transaction. It is therefore

imperative that Tribune’ stockholders are provided with the material information that has been

omitted from the Proxy Statement, so that they can meaningfully assess whether or not the

Proposed Transaction is in their best interests prior to the forthcoming stockholder vote.

B.     The Materially Incomplete and Misleading Proxy Statement

       23.     On April 27, 2021, Tribune filed the Proxy Statement with the SEC in connection

with the Proposed Transaction.       The Proxy Statement was furnished to the Company’s

stockholders and solicits the stockholders to vote in favor of the Proposed Transaction. The

Individual Defendants were obligated to carefully review the Proxy Statement before it was filed

with the SEC and disseminated to the Company’s stockholders to ensure that it did not contain any

material misrepresentations or omissions. However, the Proxy Statement misrepresents and/or

omits material information that is necessary for the Company’s stockholders to make an informed

decision concerning whether to vote in favor of the Proposed Transaction, in violation of Sections

14(a) and 20(a) of the Exchange Act.

Omissions and/or Material Misrepresentations Concerning Company Projections


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       24.     The Proxy Statement fails to provide material information concerning financial

projections by Tribune management and relied upon by Lazard and the Board in their analysis and

deliberation. The Proxy Statement discloses management-prepared financial projections for the

Company which are materially misleading. The Proxy Statement indicates that in connection with

the rendering of its fairness opinion, that the Company prepared certain non-public financial

forecasts (the “Company Projections”) and provided them to the Board and the financial advisors

with forming a view about the stand-alone valuation of the Company. Accordingly, the Proxy

Statement should have, but fails to provide, certain information in the projections that Tribune

management provided to the Board and the financial advisors. Courts have uniformly stated that

“projections … are probably among the most highly-prized disclosures by investors. Investors can

come up with their own estimates of discount rates or [] market multiples. What they cannot hope

to do is replicate management’s inside view of the company’s prospects.” In re Netsmart Techs.,

Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).

       25.     For the Company Projections, including the 2021 Strategic Plan, Updated 2021

Strategic Plan, and Case Projections for 2022-2023, the Proxy Statement provides values for non-

GAAP (Generally Accepted Accounting Principles) financial metrics: Adjusted EBITDA and

Unlevered Free Cash Flow, but fails to provide line items used to calculate these metrics and/or a

reconciliation of these non-GAAP metrics to their most comparable GAAP measures, in direct

violation of Regulation G and consequently Section 14(a).

       26.     When a company discloses non-GAAP financial measures in a Proxy Statement

that were relied on by a board of directors to recommend that stockholders exercise their corporate

suffrage rights in a particular manner, the company must, pursuant to SEC regulatory mandates,

also disclose all projections and information necessary to make the non-GAAP measures not



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misleading, and must provide a reconciliation (by schedule or other clearly understandable

method) of the differences between the non-GAAP financial measure disclosed or released with

the most comparable financial measure or measures calculated and presented in accordance with

GAAP. 17 C.F.R. § 244.100.

       27.     The SEC has noted that:

               companies should be aware that this measure does not have a
               uniform definition and its title does not describe how it is calculated.
               Accordingly, a clear description of how this measure is calculated,
               as well as the necessary reconciliation, should accompany the
               measure where it is used. Companies should also avoid
               inappropriate or potentially misleading inferences about its
               usefulness. For example, "free cash flow" should not be used in a
               manner that inappropriately implies that the measure represents the
               residual cash flow available for discretionary expenditures, since
               many companies have mandatory debt service requirements or other
               non-discretionary expenditures that are not deducted from the
               measure.1

       28.     Thus, to cure the Proxy Statement and the materially misleading nature of the

forecasts under SEC Rule 14a-9 as a result of the omitted information in the Proxy Statement,

Defendants must provide a reconciliation table of the non-GAAP measure to the most comparable

GAAP measure to make the non-GAAP metrics included in the Proxy Statement not misleading.

Omissions and/or Material Misrepresentations Concerning Lazard’s Financial Analysis

       29.     With respect to Lazard’s Selected Precedent Transactions Multiples Analysis, the

Proxy Statement fails to disclose: (i) the closing dates of each selected transaction; and (ii) the

values of each selected transaction.

       30.     With respect to Lazard’s Discounted Cash Flow Analysis – Specified Case, as well

as for Cases A, B and C, the Proxy Statement also fails to disclose: (i) the estimated terminal value



1
 U.S. Securities and Exchange Commission, Non-GAAP Financial Measures, last updated April
4, 2018, available at: https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm

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for the Company; (ii) the estimated future cash flows for fiscal years ending 2021, 2022, and 2023;

(iii) the inputs and assumptions underlying the range of discount rates from 9.0% to 11.0%; (v) the

Company’s weighted cost of capital; (vi) the inputs and assumptions underlying the use of various

exit Adjusted EBITDA multiples ranging from 3.0x to 5.0x; (vii) the present value of pension

liabilities and adjusted expenses at the terminal value date; and (viii) the Company’s net debt.

          31.   With respect to Lazard’s Research Analyst Price Targets, the Proxy Statement fails

to disclose (i) the price targets observed by Lazard in the analysis; and (ii) the sources thereof.

          32.   In sum, the omission of the above-referenced information renders statements in the

Proxy Statement materially incomplete and misleading in contravention of the Exchange Act.

Absent disclosure of the foregoing material information prior to the special stockholder meeting

to vote on the Proposed Transaction, Plaintiff will be unable to make a fully-informed decision

regarding whether to vote in favor of the Proposed Transaction, and she is thus threatened with

irreparable harm, warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                 On Behalf of Plaintiff Against All Defendants for Violations of
           Section 14(a) of the Exchange Act and Rule 14a-9 and 17 C.F.R. § 244.100

          33.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          34.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications with stockholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.



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       35.     Defendants have issued the Proxy Statement with the intention of soliciting

stockholder support for the Proposed Transaction.          Each of the Defendants reviewed and

authorized the dissemination of the Proxy Statement and the use of their name in the Proxy

Statement, which fails to provide critical information regarding, among other things, financial

analysis that were prepared by Lazard and relied upon by the Board in recommending the

Company’s stockholders vote in favor of the Proposed Transaction.

       36.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Proxy Statement, but nonetheless failed to obtain and disclose such

information to stockholders although they could have done so without extraordinary effort.

       37.     Defendants were, at the very least, negligent in preparing and reviewing the Proxy

Statement. The preparation of a Proxy Statement by corporate insiders containing materially false

or misleading statements or omitting a material fact constitutes negligence. Defendants were

negligent in choosing to omit material information from the Proxy Statement or failing to notice

the material omissions in the Proxy Statement upon reviewing it, which they were required to do

carefully. Indeed, Defendants were intricately involved in the process leading up to the signing of

the Merger Agreement and the preparation and review of strategic alternatives and the Company’s

financial projections.

       38.     The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, who will be deprived of her right to cast an informed vote if such misrepresentations and




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omissions are not corrected prior to the vote on the Proposed Transaction. Plaintiff has no adequate

remedy at law. Only through the exercise of this Court’s equitable powers can Plaintiff be fully

protected from the immediate and irreparable injury that Defendants’ actions threaten to inflict.

                                             COUNT II

 On Behalf of Plaintiff Against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act

          39.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          40.   The Individual Defendants acted as controlling persons of Tribune within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

directors of Tribune, and participation in and/or awareness of the Company’s operations and/or

intimate knowledge of the incomplete and misleading statements contained in the Proxy Statement

filed with the SEC, they had the power to influence and control and did influence and control,

directly or indirectly, the decision making of Tribune, including the content and dissemination of

the various statements that Plaintiff contends are materially incomplete and misleading.

          41.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

          42.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of Tribune, and, therefore, is presumed to have had the

power to control or influence the particular transactions giving rise to the Exchange Act violations

alleged herein, and exercised the same. The omitted information identified above was reviewed

by the Board prior to voting on the Proposed Transaction. The Proxy Statement at issue contains



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the unanimous recommendation of the Board to approve the Proposed Transaction. The Individual

Defendants were thus directly involved in the making of the Proxy Statement.

       43.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Merger

Agreement. The Proxy Statement purports to describe the various issues and information that the

Individual Defendants reviewed and considered. The Individual Defendants participated in

drafting and/or gave their input on the content of those descriptions.

       44.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       45.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       46.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands injunctive relief in her favor and against the Defendants

jointly and severally, as follows:

       A.      Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Proxy Statement;


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          B.     Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages;

          C.     Directing the Defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;

          D.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          E.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.




 Dated: April 28, 2021                              MELWANI & CHAN LLP

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